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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS


 JARROD MCKINNEY,

                Plaintiff,

 v.                                                            No. 2:21-cv-00212-RWS

 THOMAS J. VILSACK, in his official capacity
 as Secretary of Agriculture,
 et al.,

                Defendants.



                                       STATUS REPORT
       In accordance with the Court’s August 30, 2021, Order, ECF No. 40, and Defendants’ August

25, 2022, Status Report, ECF No. 44, Defendants respectfully submit this status report.

       1. Plaintiff in this action challenges Section 1005 of the America Rescue Plan Act of 2021

           (ARPA). Because Plaintiff was a member of classes certified by the District Court for the

           Northern District of Texas in Miller v. Vilsack, 4:21-cv-595 (N.D. Tex.), that similarly

           challenged the same statutory provision, Defendants moved for, and the Court granted, a

           stay of this action pending the outcome of the Miller litigation. See ECF No. 40 (Aug. 30,

           2021).

       2. On August 16, 2022, the President signed into law the Inflation Reduction Act of 2022.

           https://www.congress.gov/117/bills/hr5376/BILLS-117hr5376enr.pdf. Section 22008

           of that Act expressly repeals Section 1005 of ARPA and thus moots this case.

       3. On August 29, 2022, in light of the repeal of Section 1005, the parties in the Miller action

           stipulated to dismissal of the action because “the constitutional challenge to Section 1005

           is moot.” See Joint Stipulation of Dismissal, ECF No. 236, Miller, 4:21-cv-595 (attached as

           Ex. A). The Miller court subsequently terminated the case. See August 30, 2022 docket

           entry, id.
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     4. Defendants have been conferring with counsel for Plaintiff concerning the disposition of

        this matter for the past several weeks. Because Plaintiff’s claims are moot, Defendants

        believe that Plaintiff should voluntarily dismiss his complaint. See Fed. R. Civ. P. 41.

        Defendants understand that Plaintiff is continuing to confer with his attorneys on how to

        proceed.

     5. Nonetheless, because the Miller litigation is terminated, and because Plaintiff’s claims are

        moot, Defendants propose to lift the stay of proceedings and file a motion to dismiss as

        moot on September 15, 2022, if Plaintiff has not dismissed this action before then.



     Dated: September 8, 2022               Respectfully submitted,

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                                            Principal Deputy Assistant Attorney General

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                                            Assistant Branch Director
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                                            /s/Michael F. Knapp
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 8, 2022, a copy of the foregoing notice was filed

electronically via the Court’s ECF system, which effects service on counsel of record.


                                                                              /s/Michael F. Knapp
                                                                              Michael F. Knapp
                                                                              Trial Attorney
